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                                                                      i'rr.~ .
                        IN THE UNITED STATES DISTRICT COURT'"          .. ,                       :~~'H.
                           FOR THE DISTRICT OF MARYLA}'tI?gF                ' .. ,of"
                                                                          .        £8 12 Prj I: 07
 KENNETH B. BUTLER, et al.,                       *
 On behalf of themselves and on behalf of all     *                   Cy --'
 other similarly situated individuals,                                              __          CEPtr-.,
                                                  *
         PlaintijJs,                                     Civil Action NO.1: 16-cv-03309-ELH
                                                  *
 v.
                                                  *
 BALTIMORE POLICE DEPARTMENT,
 et al.,                                          *

         Defendants.                              *

 *           *    *        *      *        *      *       *       *            *            *              *        *

        JOINT MOTION FOR MODIFICATION OF THE SCHEDULING ORDER

       The parties, through counsel, having conferred and agreed upon modifications to the Joint

Third Revised Scheduling Order (ECF 133), submit this Joint Motion for Modification of the

Scheduling Order, and request that the Court approve their proposed modifications.                         The parties

jointly state the following in support thereof:

        1.       The Joint Third Revised Scheduling Order was issued on July 31,2018.                          ECF 133.

        2.       The parties are presently engaged in the discovery process, which is ongoing. The

present discovery deadline is April I, 2019.

        3.       As before, the parties have continued to engage in cooperative discovery practices;

however, due to the complexity of this case involving approximately                   2,335 plaintiffs with

numerous variables contributing to their payroll calculations, Defendants, despite diligent efforts,

have continued to experience formidable challenges in producing the relevant data and records in

a usable database.
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       4.       Defendants   previously   described,   in Exhibit A, the technical     difficulties   of

producing the electronically maintained payroll and time records. The payroll data has been

produced. The time records, which are housed with a 3'd party vendor, have been retrieved through

a large part of the class period. However, in order to be useful, those time records must be joined

to/matched with the corresponding payroll infonnation, on an entry-by-entry basis. This is a very

painstaking process if it is to be done accurately.     When this process is complete, Defendants

expect the database to allow the parties to compare the amounts actually paid to the Plaintiffs

against the amounts owed to the Plaintiffs as overtime under the Fair Labor Standards Act, to

determine whether there was any discrepancy; and, if a discrepancy was established, the parties

would be better positioned to evaluate meaningful settlement negotiations.

        5.      Just as the responses Defendants are continuing to prepare have taken an extensive

amount of time to compile, Plaintiffs will then need ample time to review those records, which are

expected to consist of, inter alia, wage and hour records on behalf of thousands of opt-in Plaintiffs.

Thereafter, it is expected the parties will engage in further discovery, including depositions and

potential follow-up written discovery.

        6.      For all of these reasons, discovery extensions have been granted due to the breadth

and depth of this case.

        7.      In addition, Defendants responses to supplemental written discovery propounded

by Plaintiffs are presently due on Wednesday, January 30, 2019.            However, Plaintiffs have

consented to Defendants' request for a 30-day extension, making their responses due on February

28,2019.
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         8.       Similarly, Defendants granted the FOP a two-week extension to respond to their

subpoena.      In addition, Defendants provided Plaintiffs an extension through January 30, 2019 to

respond to Defendants' written discovery requests.

         9.       With the foregoing, and in order to avoid prejudice to either party in completing

discovery, the parties jointly request that the Court's Scheduling Order be modified, as follows:

              LlTIGA TION ACTIVITY                    CURRENT                  PROPOSED
                                                    DATE (ECF 133)           REVISED DATE

 Discoverv Cut-Off-Status Reoort                  Aoril I, 2019           December 31, 2019
 Requests for Admissions                          Aoril 30, 2019          Januarv 31, 2020
 Disoositive Motions                              June 1,2019                         ,2020
                                                                         Marte-.J-, ).. (
         WHEREFORE, the parties respectfully request that the Court grant their Joint Motion for

Modification of the Scheduling Order, and instruct the Clerk to enter a revised Scheduling Order

reflecting these modified dates.

LUCHANSKY MILLMAN                                 SHA WE & ROSENTHAL, LLP

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     SO ORDERED:


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     Judge, United StatsDlShoict Court
     for the District of Maryland
